Case 2:16-cv-02907-SHM-tmp Document 245-2 Filed 09/06/19 Page 1 of 6                  PageID 2669




                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN SECTION OF TENNESSEE
                                   WESTERN DIVISION


  SCOTT TURNAGE, CORTEZ D. BROWN,                 )
  DEONTAE TATE, JEREMY S. MELTON,                 )   Case No. 2:16-cv-2907-SHM/tmp
  ISSACCA POWELL, KEITH BURGESS,                  )
  TRAVIS BOYD, and TERRENCE DRAIN,                )
  and KIMBERLY ALLEN on behalf of                 )
  themselves and all similarly situated           )
  persons,                                        )
                                                  )
            PLAINTIFFS,                           )
                                                  )   CLASS ACTION COMPLAINT FOR
  v.                                              )   VIOLATIONS OF THE CIVIL RIGHTS
                                                  )   ACT OF 1871, 42 U.S.C. § 1983, AND
                                                  )   TENNESSEE COMMON LAW
                                                  )
  BILL OLDHAM, in his individual capacity         )
  and in his official capacity as the Sheriff of  )   JURY TRIAL DEMANDED
  Shelby County, Tennessee; ROBERT                )   PURSUANT TO FED. R. CIV. PRO. 38(a)
  MOORE, in his individual capacity and in        )   & (b)
  his official capacity as the Jail Director of   )
  the Shelby County, Tennessee; CHARLENE )
  McGHEE, in her individual capacity and in       )
  her official capacity as the of Assistant Chief )
  Jail Security of Shelby County, Tennessee;      )
  DEBRA HAMMONS, in her individual                )
  capacity and in her official capacity as the    )
  Assistant Chief of Jail Programs of Shelby      )
  County, Tennessee; SHELBY COUNTY,               )
  TENNESSEE, a Tennessee municipality;            )
  and TYLER TECHNOLOGIES, INC., a                 )
  foreign corporation,                            )
                                                  )
                                                  )
            DEFENDANTS.                           )


         MEMORANDUM IN SUPPORT OF MOTION FOR SUBSTITUTION OF PARTY


         COME NOW Plaintiffs, Scott Turnage, Cortez D. Brown, Deontae Tate, Jeremy S. Melton,

  Issacca Powell deceased, Keith Burgess, and Travis Boyd, and states as follows:
Case 2:16-cv-02907-SHM-tmp Document 245-2 Filed 09/06/19 Page 2 of 6                     PageID 2670




           I.     Facts

           Plaintiff, Issacca Powell, passed away on February 4, 2019. An attested copy of the Order

  Granting Petition for Appointment of Administrator Ad Litem is attached to the “Motion for

  Substitution of Party” as Exhibit 1 thereto. The Probate Court of Shelby County, Tennessee

  appointed Aubrey L. Brown as Administrator Ad Litem on August 22, 2019 by in cause number PR-

  14764. Counsel for Plaintiffs now moves this Court to substitute as Plaintiff Aubrey L. Brown as

  Administrator ad Litem for the Estate of Issacca Powell (“Aubrey L. Brown ex rel. Estate of Issacca

  Powell”).

           II.    Law and Argument

      A. Substitution Generally and Survival of Claims Under 42 U.S.C. § 1983

      Fed. R. Civ. P. 25(a)(1) governs the death of a party. It states:

      Substitution if the Claim Is Not Extinguished. If a party dies and the claim is not
      extinguished, the court may order substitution of the proper party. A motion for
      substitution may be made by any party or by the decedent's successor or
      representative. If the motion is not made within 90 days after service of a statement
      noting the death, the action by or against the decedent must be dismissed.

      Rule 25(a) provides a procedural devise allowing for the substitution of a party in order for

  litigation on a decedent's behalf to continue whenever their cause of action survives their

  death. United States v. Atlas Lederer Co., 494 F. Supp. 2d 649, 657 (S.D. Ohio 2007). “As a

  threshold matter, Rule 25 requires that the Court determine at the outset whether Plaintiff's civil

  rights claims brought under 42 U.S.C. § 1983 were automatically extinguished upon his death.”

  Reposh v. Sellers, No. 3:12-CV-02524, 2016 U.S. Dist. LEXIS 46223, at *5-6 (M.D. Pa. Apr. 6,

  2016).

      The survival of civil actions under § 1983 upon the death of a party is governed, pursuant

  to 42 U.S.C. § 1988, by the law of the forum state, so long as "not inconsistent with the


                                                   2
Case 2:16-cv-02907-SHM-tmp Document 245-2 Filed 09/06/19 Page 3 of 6                      PageID 2671




  Constitution and laws of the United States." Robertson v. Wegmann, 436 U.S. 584, 590, (1978).

  Thus, Tennessee’s law of survivorship applies.

      Tennessee law is clear on this point. “The common law rule is that the right of action of a

  person for injuries received perishes with the death of that person. This rule has been abolished

  by statute in perhaps all of the States.” McDaniel v. Mulvihill, 196 Tenn. 41, 44, 263 S.W.2d

  759, 761 (1953). Tenn. Code Ann. § 20-5-102 governs survival of actions:



         No civil action commenced, whether founded on wrongs or contracts, except
         actions for wrongs affecting the character of the plaintiff, shall abate by the death
         of either party, but may be revived; nor shall any right of action arising hereafter
         based on the wrongful act or omission of another, except actions for wrongs
         affecting the character, be abated by the death of the party wronged; but the right
         of action shall pass in like manner as the right of action described in § 20-5-106.



      B. Survival of Class Interests and Substitution of Representative

      Class interests also remain alive regardless of the death of a named representative. James v.

  Jones, 148 F.R.D. 196, 202 (W.D. Ky. 1993). Where a class representative dies during litigation,

  Plaintiffs should seek substitution of the proper party in interest. Id. (addressed in dicta in the

  context of a 42 U.S.C. § 1983 action involving injunctive relief for unlawful conditions of

  confinement).

      The substitute is not litigating on his or her own behalf and need not have standing in his

  personal capacity, but rather stands in the shoes of the decedent. Atlas Lederer Co., 495 F. Supp.

  2d at 657. A personal representative need not show that they meet the standing requirements of a

  plaintiff to be substituted under Fed. R. Civ. P. 25(a)(1). United States ex rel. Colucci v. Beth

  Israel Med. Ctr., 603 F. Supp. 2d 677, 683-84 (S.D.N.Y. 2009) (holding that a qui tam action

  brought by a private person on behalf of the United States survived the death of the relator). A
                                                   3
Case 2:16-cv-02907-SHM-tmp Document 245-2 Filed 09/06/19 Page 4 of 6                       PageID 2672




  personal representative need not themselves meet the requirements of being a class

  representative in order to substitute for a class representative in litigation. Roe v. City of New

  York, 2003 U.S. Dist. LEXIS 20705, 2003 WL 22715832, at *3 (S.D.N.Y. Nov. 19,

  2003) (granting motion to substitute father of class action representative although father could

  not satisfy any requirements to represent class). As substitute, the personal representative is not

  litigating on his own behalf but "stands in the shoes of the decedent." Id.

      C. Administrator ad Litem as Real Party in Interest

      Tenn. Code Ann. § 20-5-106(a) provides that an action may be prosecuted by the person’s

  personal representative or, if no one is willing to administer their estate, their next-of-kin. “When

  a claim involves damages, ‘the personal representative is the primary party to respond to it.’”

  Dubis v. Loyd, 540 S.W.3d 4, 10-11 (Tenn. Ct. App. 2016). Unless it is shown that “no person

  will administer on the estate of the deceased. . .” the administrator or personal representative is

  the proper party in interest. Id. Tenn. Code Ann. § 20-5-104. The rationale for requiring the

  opening of an estate and the prosecution of the claim by the estate’s personal representative, in

  the case the Administrator ad Litem, is that there may be more heirs-at-law and/or creditors that

  the law seeks to protect. Dubis, 540 S.W.3d at 10-11.

      Here, Plaintiff Issacca Powell died intestate and, on information and belief, is survived by

  numerous known heirs-at-law, at least some of whom are minors. His death does not Pending the

  administration of the estate, it cannot be known whether there are creditors.        Tenn.     Code

  Ann. § 20-5-107 expressly provides for the action to be maintained in the name of the personal

  representative, which, in this case, is the Administrator ad Litem, Aubrey L. Brown, Esq.

  Therefore, both the statutory framework and rationale for it support the Shelby County Probate

  Court’s appointment of an Administrator ad Litem specifically to prosecute this action on behalf

                                                   4
Case 2:16-cv-02907-SHM-tmp Document 245-2 Filed 09/06/19 Page 5 of 6                   PageID 2673




  of Plaintiff Powell’s estate.

         III.    Conclusion

       Plaintiff Powell’s action survives his death, as do his class interests. The Shelby County

  Probate Court has properly appointed an Administrator ad Litem to continue this action on behalf

  of his estate. This Court should substitute as Plaintiff in this action “Aubrey L. Brown ex rel.

  Estate of Issacca Powell.”

                                              Respectfully submitted,

                                              /s/Brice M. Timmons
                                              Michael G. McLaren (#5100)
                                              William E. Cochran, Jr. (#21428)
                                              Brice M. Timmons (#29582)
                                              BLACK MCLAREN JONES RYLAND & GRIFFEE PC
                                              530 Oak Court Drive, Suite 360
                                              Memphis, TN 38117
                                              (901) 762-0535 (Office)
                                              (901) 762-0539 ( Fax)
                                              wcochran@blackmclaw.com

                                              Frank L. Watson, III (Tenn. Bar No. 15073)
                                              William F. Burns (Tenn. Bar No. 17908)
                                              WATSON BURNS, PLLC
                                              253 Adams Avenue
                                              Memphis, Tennessee 38104
                                              Phone: (901) 529-7996
                                              Fax: (901) 529-7998
                                              Email: fwatson@watsonburns.com
                                              Email: bburns@watsonburns.com

                                              Claiborne Ferguson (Tenn. Bar No. 20457)
                                              Attorney for Plaintiffs and the Class
                                              THE CLAIBORNE FERGUSON LAW FIRM P.A.
                                              294 Washington Avenue
                                              Memphis, Tennesseee 38103
                                              Claiborne@midsouthcriminaldefense.com




                                                 5
Case 2:16-cv-02907-SHM-tmp Document 245-2 Filed 09/06/19 Page 6 of 6                  PageID 2674




                                             Joseph S. Ozment (Tenn. Bar No. 15601)
                                             THE LAW OFFICE OF JOSEPH S. OZMENT, PLLC
                                             1448 Madison Ave.
                                             Memphis, Tennessee 38104
                                             Phone: (901) 525-4357
                                             Email: jozment@oz-law.net
                                             Counsel for Plaintiffs and the putative
                                             Class Members


                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on the 6th day of September, 2019, the foregoing
  document was served upon all parties to this action via the Court’s ECF system



                                                            /s/ Brice M. Timmons.


                            CERTIFICATE OF CONSULTATION

          The undersigned hereby certifies that I have consulted with counsel for the opposing
  parties via email and that one or more Defendants opposes/does not consent to the relief sought
  in the motion.



                                                            /s/ Brice M. Timmons.




                                                6
